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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES − GENERAL

Case No.: 2:18−cv−01532−CAS−SS                            Date:                                5/3/2018
Title: KLAUBER BROTHERS, INC. V. ACTIVE CRAZE, INC. ET AL

Present: The Honorable CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
       Catherine M. Jeang                           N/A                                N/A
       Deputy Clerk                        Court Reporter/Recorder                    Tape No.

            Attorneys Present for Plaintiffs:              Attorneys Present for Defendants:
                     None appearing                               None appearing
PROCEEDINGS:             (IN CHAMBERS) − ORDER SETTING SCHEDULING
                         CONFERENCE
      This matter is set for a Scheduling Conference on June 18, 2018, at 11:00 AM. The
Scheduling Conference will be held pursuant to F.R.Civ.P 16(b). The parties are reminded of
their obligations to disclose information and confer on a discovery plan not later than 21 days
prior to the date of the Rule 16(b) Scheduling Conference and to report to the Court not later
than 14 days after they confer on a discovery plan and the other matters required by
F.R.Civ.P. 26(f) and the Local Rules of this Court.
      At the Rule 16(b) Scheduling Conference, the Court will issue an order setting forth at
least the following dates: the last date for joining parties, the last date to file any motion,
whether or not dispositive, and the last date to complete discovery. Scheduling Conferences
will ordinarily not be continued.
       Failure to comply may lead to the imposition of sanctions.
     Judge Snyder is located at 350 West First Street Courthouse, in Courtroom 8D, on the
eight floor.




                                                                    Initials of Preparer: cj




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